Case 2:O4-cV-O2398-.]Pl\/|-de Document 21 Filed 07/26/05 Page 1 of 2 7 PagelD 36

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|N THE UNlTED STATES DlSTR|CT COURT ` ' `

WESTERN DISTRlCT OF TENNESSEE 05 JUL 25 m l82 30

 

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TORY LAMONT SHAW, JR., a minor CLEH<, U.S: l"":iiif"i C&HT
by next rriend, and guardian KENSH:A wm st iii ieth
JEFFERsoN
PLA\NT|FF,
- vs - cAsE: 2:04 cv02398 Mi \/

LA PET|TE ACADEMY, INC.

DEFENDANT.

 

ORDER GRANT|NG MOT|ON FOR ADD|T|ONAL TlME TO
RESPOND TO SUMMARY JUDGMENT

 

Upon Motion of the plaintiff for an extension of time within which to respond to
defendants motion for Summary Judgment and for good cause shown.
lT lS THE ORDER of this Court that plaintiff be given until Monday, August 15, 2005
to file her response to defendant’s Motion for Summary Judgment
ENTERED THls THE &DAY oF JuLY, 2005.

D,.Q iti‘O.it

|S lCT COURT JUDGE

 

 

CERT|F|CATE OF SERV|CE

The undersigned hereby certifies that he is attorney of record for plaintiff and has
served a true and correct copy of the foregoing pleading by United States Mai|, postage
paid, to W. Judd Peak, SunTrust Center, Suite 1600, 424 Church Street1 Nashville,
Tennessee 37219.

Thisthe Qa#(day or jt§l ,2005..»

' Cl:lRlsTofHER L. TAYLOR

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T'riis document entered on the docket sheet in cpmplianc /
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This notice confirms a copy of the document docketed as number 21 in
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ESSEE

 

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Honorable J on McCalla
US DISTRICT COURT

